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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

  WYNDHAM VACATION OWNERSHIP, INC. a                  )
  Delaware corporation; WYNDHAM VACATION              )
  RESORTS, INC., a Delaware corporation,              )
  WYNDHAM RESORT DEVELOPMENT COR-                     )
  PORATION; an Oregon Corporation; SHELL              )
  VACATIONS, LLC, an Arizona limited liability        )   CIVIL ACTION NO.
  company; SVC-WEST, LLC, a California limited        )   8:19-cv-01895-CEH-CPT
  liability company; SVC-AMERICANA, LLC, an           )
  Arizona limited liability company; and SVC- HA-     )
  WAII, LLC, a Hawaii limited liability company,      )
  Plaintiffs,                                         )    ATTACKED LEAD COUNSEL’S
  v.                                                  )      REQUEST FOR LEAVE TO
  THE MONTGOMERY LAW FIRM, LLC, a Mis-                )     RESPOND TO WYNDHAM’S
  souri limited liability company; MONTGOMERY         )      UNTOWARD COMMENTS
  & NEWCOMB, LLC, a Missouri limited liability        )
  company; M. SCOTT MONTGOMERY, ESQ.,                 )
  an individual; W. TODD NEWCOMB, ESQ., an            )
  individual; CLS, INC. d/b/a ATLAS VACATION          )
  REMEDIES and also d/b/a PRINCIPAL TRANS-            )
  FER GROUP, a Missouri corporation; ATLAS            )
  VACATION REMEDIES, LLC, a Missouri lim-             )
  ited liability company; PRINCIPAL TRANSFER          )
  GROUP, LLC, a Missouri limited liability com-       )
  pany; JASON LEVI HEMINGWAY, an individ-             )
  ual; MUTUAL RELEASE CORPORATION                     )
  a/k/a 417 MRC LLC, a Missouri limited liability     )
  company; DAN CHUDY, an individual; MAT-             )
  THEW TUCKER, an individual; and CATA-               )
  LYST CONSULTING FIRM LLC, a Missouri                )
  limited liability company,                          )
  Defendants.                                         )


        Undersigned Lead Counsel respectfully requests leave to be heard in response to Wynd-

 ham’s contrived “opposition” to the motion to withdraw of disabled Local Counsel, Mr. Coleman

 Watson, Esq. -- who has been forced to close his legal practice, because of illness. Unfortunately

 and inequitably, Wyndham has sought to morph Mr. Watson’s simple, standard and (yes) most




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 unfortunate motion into yet another untoward attack on another attorney -- this time, upon Lead

 Counsel.

        Lead Counsel has duly explained the facts and circumstances that lead to the unfortunate

 necessity of removing his belt, together with his trousers – an event that was triggered by the

 refusal of the Courthouse Officers to conduct a standard “pat-down”, and that thus was followed

 by the express permission that counsel had received to do so by these very same Security Guards

 -- all of whom are mature adults and former law enforcement offices. Counsel has thus apologized

 for any inconvenience that this regrettable event may have caused. No one was prejudiced thereby.

 But, nonetheless, it is clear that the covert purpose of Wyndham’s continuing attack on Lead Coun-

 sel is for the untoward purpose of seeking unfair advantage over, and prejudice against, the Lawyer

 Defendants that Wyndham has unaccountably sued.

        Wyndham’s present story-line-of-convenience to the Court pretends that Lead Counsel has

 supposedly been guilty of “gross misconduct”, allegedly because a discovery sanction was issued

 (i.e., based upon the mere designation of a video deposition transcript as “Confidential under Pro-

 tective Order”). But, however, the promptly and candidly-stated reason for this designation was

 to prevent Wyndham from posting video-clips on the Internet from this video deposition of the

 attacked lawyer deponent – i.e., for Wyndham’s extrajudicial purpose of damaging the deponent’s

 legal practice. To date, Wyndham has never explained why this sensitive video should not have

 properly been confined to usages within the present litigation, only -- and/or, why the “Confiden-

 tial” designation could ever have been prejudicial to any fair use that Wyndham had planned.

 Accordingly, and even though the sanction issued by the prior Magistrate Judge was joint-and-

 several, Lead Counsel (a solo practitioner) supra-ethically paid the sanction out of his own pocket.




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 Again, Wyndham over-argues its case, and with an inappropriate viciousness that is seldom seen

 in the federal courts.

        Moreover, it is correct that (a) Lead Counsel’s former client (the Principal Transfer Group)

 had refused to provide discovery, and (b) that thus, Lead Counsel was ethically forced to withdraw

 from such representation. But, transparently, this was not a sanction against counsel, who had

 thereby only sought to uphold the high ethical standards of this Court.

        Finally, attacked Lead Counsel believes that the focus of the case should remain on the

 substantive issues in the case – and, which prominently include Wyndham’s failure (in violation

 of Rule 11 FRCP) to conduct a pre-filing investigation as to the proximate cause of the so-called

 “tortious interference” that Wyndham ever-so-casually charges against the Lawyer Defendants.

 Specifically, Wyndham has unethically and speculatively filed the present Complaint alleging that

 the Wyndham Timeshare Owner Clients of the sued Lawyer Defendants had supposedly been “in-

 duced” by the Lawyer Defendants to default on their payments to Wyndham. But, Wyndham has

 now admitted in discovery that Wyndham did not conduct any pre-filing investigation of its Wynd-

 ham Timeshare Owners to determine the who, what, why, where, when and how proximate cau-

 sality of these defaults. (See attached Wyndham’s Reponses to Request to Admit).

        Wyndham’s litigation mis-behavior cannot be excused.

        Accordingly, Wyndham has violated Rule 11 FRCP, and thus Wyndham’s present attack

 on Lead Counsel -- in faux-response to the entirely necessary and proper motion of disabled At-

 torney Watson -- is but a yet further, attempted, vulgar camouflage for Wyndham’s continuing

 untoward pattern of mis-behavior in attacking other lawyers.

        Finally -- most unfortunately – and, given the facts that: (i) Intellectual Property law is

 national in-scope; (ii) Lead Counsel’s national legal practice for 49+ years has been focused upon




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 the litigation of the Intellectual Property subjects of, inter alia, patent law, trademark law, copy-

 right law, trade secret law, and related antitrust causes; and (iii) pro hac vice admissions are nec-

 essary to conduct Lead Counsel’s national practice -- Wyndham’s heedless and vituperative pur-

 pose in filing its present attack brief is to destroy Lead Counsel as a lawyer.

        Thus, it is Wyndham’s purpose to destroy Lead Counsel’s legal practice, and thus to serve

 a ruined-attorney, as an object-lesson in futuro, to any younger attorney who would dare to op-

 pose Wyndham’s continuing unethical, unlawful and fraudulent practices in the sale of their so-

 called “timeshares”.


                                                Respectfully submitted this 15th day of April, 2020,

                                                       /s/ Robert M. Ward
                                                       Robert M. Ward
                                                       (Admitted Pro Haec Vice)
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                                                       Atlanta, GA 30326
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                                  CERTIFICATE OF SERVICE

         I do hereby certify that a true and correct copy of the foregoing was filed on the date set
 forth hereon electronically via CM/ECF in the United States District Court for the Middle District
 of Florida, with notice and copy of same being electronically served by the Court upon all counsel
 of record.

                                                                /s/ Robert M. Ward

                                                         Attorney for the Lawyer Defendants




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